      Case 2:20-cr-00143-JCZ-MBN Document 85 Filed 08/26/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                         *       CRIMINAL DOCKET

VERSUS                                           *       NO. 20-143

DONALD PETER AUZINE, JR.                         *       SECTION: "A"


                                           ORDER

       Considering the foregoing motion,


       IT IS ORDERED that the motion for continuance is GRANTED, and that the sentencing

                                           September
herein is scheduled for the ____day of __________________, 2022, at ___o’clock__.m.,

       New Orleans, Louisiana, this26th
                                    ___day of August, 2022.



                                           ____________________________________
                                           UNITED STATES DISTRICT JUDGE
